1. Where, as here, a deed to farm land has been delivered in accordance with a contract of sale and the purchase-price paid, and where no mention is made in either the deed or contract of sale of personalty alleged to have gone with the farm, the subsequent delivery of such personalty to the vendee upon his representation that it was a part of the transaction does not constitute a sale.
2. Where chattels are delivered to the vendee of realty subsequently to the sale thereof, upon his representation that they were included in the sale, when in fact they were not so included, such delivery does not constitute a gift of the chattels.
3. Where chattels are delivered to the vendee of realty subsequently to the sale thereof upon his representation that they were included in the sale, when in fact they were not so included, such delivery is not a waiver of the rights of the plaintiff to a recovery of the chattels upon her ascertainment of the true state of facts, nor is she estopped thereby from asserting title to the personalty.
4. Where chattels are delivered to the vendee of realty subsequently to the sale thereof upon his representation that they were included in the sale, when in fact they were not so included, whether or not such transaction amounts to a compromise of a doubtful claim depends upon the good faith of the party making such representation, and this is generally a question for the jury to decide under the facts of the case. The trial court therefore erred in granting a nonsuit under this state of facts.
      DECIDED DECEMBER 3, 1949. REHEARING DENIED DECEMBER 15, 1949.
Mrs. B. S. Gostin brought an action of trover against Irving Scott in the City Court of Macon to recover certain farm machinery delivered to Scott's possession, on or around May 17, 1946, including a tractor, disc harrow, lime spreader, drag, grain distributor, being equipment which belonged to Dr. B. S. Gostin and was stored with International Harvester Company until picked up by Scott. The defendant admitted possession of all the equipment, except the tractor and disc harrow which he had sold. Upon the conclusion of the plaintiff's evidence the court granted the defendant's motion for a nonsuit and dismissed the action, to which ruling the plaintiff excepted.
Evidence was admitted upon the trial which, had the case been submitted to the jury, would have authorized it to find as follows: Dr. B. S. Gostin owned certain described land, and owned machinery which was on this land and had been seen by the defendant thereon. Dr. Gostin died August 28, 1945, leaving *Page 631 
as his heir his widow, the plaintiff herein, who had the machinery moved from the farm to the place of business of International Harvester Company in Macon for purposes of repair and storage. Thereafter, on April 15, 1946, the plaintiff and defendant entered into a contract of sale of the farm land for the purchase-price of $23,000, which contract made no reference whatever to the machinery but described only the land. On May 10 the contract of sale was executed by delivery of a deed to the described land and payment of the purchase-price of $23,000, the deed also making no reference to any machinery. At no time during the negotiations between the parties prior to the execution and delivery of the deed and payment of the purchase-price was the machinery ever mentioned. Sometime later, between July and September, the plaintiff revisited the farm and saw the defendant, who then said, "Now, Mrs. Gostin, how about the farm equipment? You know it is understood that goes with the farm." The plaintiff testified that, "when he said it was understood, I was very much astonished, but I yielded." Thereafter, the defendant sent to the place of business of the International Harvester Company in Macon for the machinery and had it delivered to his premises. A bill of $44 for the repairs to the machinery was sent to the plaintiff and paid for by her. The defendant had stated that he would repay this amount, but had failed to do so. In May or June of 1948 the plaintiff questioned the attorney connected with the matter to see whether he had received this check, and the attorney, who had had no previous knowledge of the transfer of the machinery, then informed the plaintiff that the machinery had not been sold with the farm, but that the deed and sales contract referred to a sale of the land only. The plaintiff then made a demand for the return of the machinery, and the present action was instituted. At the close of the plaintiff's evidence, as set forth above, the trial court, on motion of counsel for the defendant, granted a nonsuit, and the plaintiff brings error.
1 (a). To support her action of trover sufficiently to withstand a motion for a nonsuit, the plaintiff must negative all implications arising *Page 632 
from the testimony that title passed from her in any of the methods provided by law. We consider these methods, as suggested by counsel in their briefs. First, it appears that there was no sale of the machinery, as alleged by paragraph 3 of the defendant's answer stating: "On the contrary, defendant says that said property was sold and delivered by plaintiff to defendant and was fully paid for." A contract of sale must include an identification of the thing sold, an agreement as to the price to be paid, and the consent of the parties. Code, § 96-101. It is obvious that the machinery was not included in the sale of the farm and the purchase-price paid of $23,000, since both the contract of sale and the deed refer to the land only. The plaintiff's testimony was that no mention of machinery was made until some months after the completion of the sale, which negatives the contention of counsel for the defendant that "the property was delivered in connection with the sale of a farm," and also any contention that the delivery might have been a consideration or inducement for entering into a contract of sale of the farm. Nor could it be considered a contemporaneous independent parol agreement. The purchase-price applied to the land only, and there would be no consideration for the transfer of the personalty. The transaction therefore was not a sale.
2. Although there was a delivery by the plaintiff and acceptance by the defendant, the transaction falls short of the elements of gift, in that there was no present intention to give.Culpepper v. Culpepper, 18 Ga. App. 182 (89 S.E. 161). The plaintiff "yielded" to the representations of the defendant that the machinery "went with the farm" and allowed him to take possession of that which, according to his representations, was already his. There was no intention on her part to pass title to any property from herself to another. The transaction therefore was not a gift.
3. Nor did the mere delivery of the machinery by the plaintiff either amount to a waiver of her rights, or create an estoppel such as to preclude her from later asserting title to the property. A waiver must, among other things, be a voluntary course of action followed after full knowledge of all the facts. The plaintiff says in effect that she believed the representation of the defendant that custom demanded the delivery of farm equipment *Page 633 
as an incident to the sale of farm land, that this representation was not true, and that immediately upon discovering this fact she asserted her title to the equipment. She did not, therefore, waive her right to the personalty after a knowledge of all the facts. Similarly, estoppel can only result from an act which operates to the injury of the other party, an act by which another is overreached and which causes him to change his position for the worse. See Kennedy v. Manry, 6 Ga. App. 816
(66 S.E. 29). No benefit to the plaintiff and no harm to the defendant having resulted from the transaction, the elements of estoppel do not exist.
4. If on any theory the evidence, together with all reasonable inferences that may be drawn therefrom, considered in its light most favorable to the plaintiff, shows that the plaintiff failed to prove her action as laid, it was not error for the court to have granted the nonsuit. In this connection, it occurred to the court that the evidence might show as a matter of law that the transaction constituted a compromise of a doubtful claim, the settlement of a dispute between the parties being an adequate consideration for the delivery of the property. See Boswell v.Gillen, 131 Ga. 310 (4) (62 S.E. 187). In City Electric Ry.Co. v. Floyd County, 115 Ga. 655 (42 S.E. 45), it was held: "Moreover, in order to render valid the compromise of a claim, it is not essential that the matter should be really in doubt. It is sufficient if the parties consider it so far doubtful as to make it the subject of a compromise." In Belt v. Lazenby,126 Ga. 767, 772 (56 S.E. 81), it was stated: "It is evident that the claims or contentions of Mrs. Belt [the plaintiff] were originally, if meritorious, of considerable value. Whether there was ever really any merit in them, and, if so, whether at the time of the compromise agreement they had become barred by the statute of limitations, are immaterial questions, if at the time of the compromise she honestly believed in them and so made themin good faith." (Italics ours.) In Riley  Co. v. LondonGuaranty c. Co., 27 Ga. App. 688 (109 S.E. 676), it was held: "In determining the validity of an agreement in accord and satisfaction of a disputed claim, it is not the merit, but thebona fides of the debtor's contention which is the controlling factor; and this as a general proposition is a question of factfor the jury. *Page 634 Ryan v. Progressive Pub. Co., 16 Ga. App. 83 (84 S.E. 834);Dickerson v. Dickerson, 19 Ga. App. 269 (91 S.E. 346)." (Italics ours.) The controlling question under this theory, then, is the bona fides of the parties. The plaintiff's evidence showed without dispute that the defendant represented to her that the farm machinery, as a matter of custom, goes with the land in a sale of a farm, and that upon receipt of this information she was astonished, but yielded. Farm machinery does not, in the absence of contract, go with the land in a sale of a farm. This was a misrepresentation which would have authorized the jury to have found that his claim for the machinery was not instituted in good faith.
Where the evidence together with all reasonable inferences that may be drawn therefrom, construed in its light most favorable to the plaintiff, shows that the plaintiff supported the cause of action as laid, it is error to grant a nonsuit.Clark v. Bandy, 196 Ga. 546 (27 S.E.2d 17); Vickers v.Atlanta  West Point R. Co., 64 Ga. 306; East  West R. Co.of Ala. v. Sims, 80 Ga. 807 (2) (6 S.E. 595). Construing the evidence thus in its light most strongly against the grant of a nonsuit, it does not appear, as a matter of law, that the plaintiff failed to prove her case as laid. On the contrary, the good faith or lack of good faith under which the claim to the machinery was made by the defendant was an issue which should have been submitted to the jury. It follows that the trial court erred in granting a nonsuit.
Judgment reversed. MacIntyre, P. J., and Gardner, J., concur.